                    lN THE UN看TED STA丁ES BANKRUP丁CY COURT
                                 FOR THE DiSTRICT OF ARIZONA

in 「e:                                               CASE NO.  2:17-bk-07624-SHG


ARLENE & RONALD J SiLVER                             INDiVIDUAL DEB丁OR ENGAGED IN
                                                     BUS看NESS MONTH」Y REPOR丁

                                                     MON丁H OF                                      Ap「-18


                                                     DATE PETI丁lON FiLED:                        715120 1 7


                                                     丁AX PAYER旧NO∴

Nature of Debtor's Business:      REAL ES丁A丁E RENTAL
Natu「e of Co-Debto「is Business:     NONE


     DATE DISCLOSURE S丁ATEMENT Fi」ED                                TO BE FILED
         DATE PLAN OF REORGANIZA丁10N FiLED                          丁O BE FILED


            I CERTiFY UNDER PENALTY OF PERJURY THAT THE FOLLOWiNG MONTH」Y OPERATING REPORT AND

            THE ACCOMPANYING ATTACHMENTS ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE


RESPONSIB」E PARTYこ



    ORIGINAL SIGNATURE OF DEB丁OR                                      ORiGINAL SiGNATURE OF CO-DEBTOR


ARLENE SILVER                                                        RONALD J SiLVER
          PRiN丁ED NAME OF DEBTOR                                          PRINTED NAME OF CO-DEBTOR




                                                                                     TiTLE


                                                                                     高。/8
PRINTED NAME OF PREPARER

PERSON TO CON丁ACT REGARDiNG THIS REPORT:                             JOE」 L RUBEN

                                   PHONE NUMBER:                     602-291-1 196

                                          ADDRESS:                   P O Box62641
                                                                      □
                                                                               ヽ




                            FILE REPORT ELECTRONICALLY WiTH THE COURT
                                                                           CASH SUMMARY
2:17-bk-07624-SHG                                                        IND看VDUAL DEBTOR

                                                          Bank Accounts                         丁OTAL
                                            Cash     Checking     Checking         Checking
                                                                            7285    3591



Baiance at Be                   Of Period


RECEIPTS
Wages-Debtor                                                                        1030                1030
Wages-Co-Debtor
 LoansandAdvances
 SaieofAssets
REFUND
  Renta=ncome                                                        15756                           15756
T「ansfersf「omOtherDiPAccounts

SOCIALSECURiTY                                                           821           1155             1976
FROMPROPMGR
      TOTALRECEIP丁S                                                16577              2185            18762




   TOTAL DISBURSEMENTS


     BaIance at End of Month




CRED霊TCARDACTIVITY                         Purchase
                                     Do看iarAmountof       Charges
                                                     Current  interest   Made
                                                                          Payments Baiance
                                                                                     巨nding
 Name Acct#

 Name Acct#

 Name Acct#




                                   DiSBURSEMENTSFORCAしCULATINGQUARTERLYFEES:

丁otaIDisbu「sements-1ndividualDIPAccounts(f「omabove)                                           18,679.00

PIus:EstateDisbu「sementsMadebyOutsideSou「CeS(PaymentSf「omesc「OW;2-PartyCheck;etC.)               7,628.00

 PIus:Pay「o=Deductions(frompage3)                                                          262.00

 Pius:TotaiBusinessDisbursementsforCalcuiatingQuarte「iyFees(frompage4)

 Less:T「ansfersbetweendebto白n-POSSeSSionbankaccounts


 TotalDisbursementsforCalcuIatingQuarierlyFees                                             26,569.00
2: 1 7-bk-07624-SHG                                         DISBURSEMENT DETAIL
                                                                    (lNDlVIDUAL ACCOUN丁S)

                                                                                     Month:   Apr-1 8

                                                                               Account #      4503


                                                                              Bank Name WELLS FARGC

                                          Cash/EiectronicDisburse           ents
                      Date             Payee                            urpose                  Amount



                                                   NONE




                                                   Tota[CashlEIectronicDisbursements           臆臆臆■■


                                          CHECKSISSUED
CheckNumbe「                        Date           Payee                 Purpose              Amount




                                                   NONE




 TotaIchecksIistedonthispage
TotaichecksIistedoncontinuationpages


TOTAL DiSBURSEMENTS FOR THE MONTH (lnC山de cashlelectronic disbursements)




SaIary/Payro=    PayDate    G「ossPay   ie           SS      NetPay        =  Deductions

Debtor



Co-Debtor                                     NONE



                                               TotalPayro=Deductions"rePOrtOnPage2


                                                Page 3
2: 1 7-bk-07624-SHG                                         DiSBURSEMEN丁DE丁AIL
                                                                 (INDIVIDUAL ACCOUNTS)

                                                                                Month:   Ap「-1 8

                                                                             Account #      7285


                                                                             Bank Name WELLS FARGC


               易題漢書題題           C      shlE看ectronicD         isbursements
                      Date             Payee                                 Pu「      P      se          Amou




                                                     SEESCHEDULEATTACHED                                4699




                                                     TotatCashIElectronicD               Sbu「semen[s   4699



                                            CHECKSISSUED
CheckNumbe「                      Date            Payee           Pu「pose              Amount




                                                     SEESCHEDULEAT丁ACHED                    11746




 TotaichecksIistedonthispage                                                                   11746
丁otalchecksIistedoncontinuationpages



TOTAL DISBURSEMEN丁S FOR THE MONTH (inc「ude cash/eIect「Onic disbursements)




                                                  Page 3
2: 1 7-bk-07624-SHG                                                     D看SBURSEMENT DE丁AIL
                                                                              (INDIViDUAL ACCOUNTS)

                                                                                            Month:   Apr-1 8

                                                                                          Account #     3591


                                                                                         Bank Name WELLS FARGO

                                               Cashl   臆1 ec t「on       C:   jsbursem   ents

                      Date             Payee                                            Pu「p          Am   se                  u




                                                         SEEAT丁ACHED                                                     255




                                                          Tota[Cash/E                      ectronicDisbu「sements         255



                                           CHECKS           SS      D
CheckNumbe「                     Date       Payee                                        Pu「POSe                    Amount




                                                          SEEATTACHED                                               1979




 TotaIcheckslistedonthispage                                                                                                   1
TotaIchecksIistedoncontinuationpages


TO丁AL DISBURSEMENTS FOR THE MONTH (include cash/elect「Onie disbursements)



SaiaIγ/Payro=         PayDate   G「ossPay  less    NetPay      = Deductions

Debtor                          4/1312018                                       719            572                 147
                    412712018                                       573                    458               115




                                                       TotalPayro11Deductions"rePOrtOnPage2                        262


                                                       Page 3
2: 1 7-bk-07624-SHG                                                                     CASE S丁A丁US

                                                  QUESTIONNA看RE

                                                                                                             YES     NO
HavefundsbeendisbursedfromanyaccountsotherthanaDebtor-in-Possessionaccount?                                          X
AreanyposトPetjtionrecejvabIes(accounts,nOteSO「loans)duef「omreiatedparfies?                                           X

A「eanywagespastdue?                                                                                                       X
 reanvU.                 S.Trusteequarte「Iyfeesde=nquent?                                                            X


p「ovide a detaiied expIaination of any "YES一' answe「s to the above questions (attach additional sheets if needed).




  Cur「entnumberofemployees: NONE




 NSURANCE

Car「jer&PoljcvNumber            TvpeofPo=cv        PeriodCovered        PaymentAmount &F「equency




Whatsteps have been taken to remedy the problems which brought on the chapter = f冊g?



ATTEMPTING TO RENT VACANT COMMERCIAL SPACE




ldentify any matters that a「e deiaying the舗ng of a pIan of reorganization:




                                                           Page 4
                                                                                              DBA BUSiNESS ENTITY
2:17-bk-07624-SHG                                                                        REAL ESTATE REN丁AL



                                            CURRENT MONTH-S RECEiPTS AND D看SBURSEMENTS




音量重畳彊国璽
Balance at Be                           Of Period


RECEIPTS
 CashSa eS
 AccountsRceivable-P「epetition

 AccountsRceivable-Postpetition
 LoansandAdvances
 SaieofAssets
  T「ansfe「sf「omOthe「DiPAccounts

 Othe「(attachlist)



    TOTA」RECEiPTS


圃SBURSEMENTS     l
;Business-Ordina「yOpe「ations

  Capitoiimp「ovements

  Pre-PetitionDebt
 丁「ansferstoOthe「DiPAccounts                               ALLINFORMATIO   NINCLUDEDIN   ND     V   DUALD    P      ACCOUNTS
  Othe「(attachlist)

ARiZONASALESTAX


  ReorganizationExpenses: AttomeyFees


         AccountantFees
         OtherP「ofessionaIFees

          U.S.T「usteeQuarterlyFee

          CourtCosts


TOTALDiSBURSEMENTS

 Balance at End of Month




                                                               Page 5
2:1 7-bk-07624-SHG                                                         1NCOME S丁A丁EMENT
                                                                                        (Acc「ual Basis)


*Debto「's own fo「m may be substltuted lf (1) lt lS P「ePa「ed ln aCCO「dance with gene「a"y accepted accounting p「incipais,


(2) yea「-tO-date and fiIlng-tO-date lnfo「matiOn is p「ovided, and (3) if 「eorganization expenses a「e segregated in the statement




                                                     匡星団星型匡童画
        GROSS PROFiT




 ncomeBeforeNon-OPeratinglncome
andExpense




 Income Befo「e Reo「         anization Expense




  lncome Tax

 NET PROFi丁OR (LOSS)

                                                                    Page 6
Case Number:2:17-bk-07624-SHG                                                            COMPARA丁IVE BALANCE SHEET
                                                                                                             (Accruai Basis)

*Debtor-s fo「m may be substltuted if (1) it is prepa「ed in acco「dance with generaliy accepted accounting principais' (2) cu「「ent


and prio「 perlOd info「mation is provided, and (3) if pre-Petit-On and post-Pet-tiOn llabilltIeS are Seg「egated.




ASSETS                                               SCHEDULEAMOUN丁                         CURRENTMONTH                 PRiORMONTH
Unrest「icted Cash                                                             3,522                    39,924                  39,841
Rest「icted Cash
     丁otal Cash                                                               3,522                    39,924                  39,841
Accounts Receivabie
i nvento「y

Notes Receivable
        Expenses
         DUE FROM PROP MGR)                                                                                  4,427              2)195

      Total Cu「「ent Assets                                                    3,522                    44,351                   42,036
             Piant & Equipment                                           3,311,600                   3,311,600                 3,311,600
  」ess: Accumuiated Depreciation
                                                                                                        33,300                  29,600

  Net P「OPert       Piant & Equip.                                       3,311,600                   3,278,300                 3,282,000
Due F「om lnsider(S)
Other Assets - net (attach iist                                              63,482                     63,482                  63,482
Other (attach
TOTA」 ASSETS                                                             3,378,604                   3,386,133                 3,387,518

POST-PE丁皿ON LIABルiTiES
Accounts Pa
Taxes Pa                                                                                                          557              557

 Notes Pa
 P「ofessional Fees

 Secured Debt
                                                                                                              1,943             1、943
 Other (SeCurit
      Total Post-Petition Liab冊ies                                                                            2,500             2,500

 PRE-PET汀1ON LiABIL汀IES
 Secured Debt                                                            2,841,008                   2,818,628                 2,822,230
 P「io「ity Debt
 Unsecu「ed Debt                                                              47,301                      47,301                 47,301
 Other (attach
       Total P「e-Petition Liabiiities                                    2,888,309                   2,865,929                 2,869,531

 TOTAL LiABILITiES                                                       2,888,309                   2,868,429                 2,872,031

 EQUITY
 Pre-Petition Ownerls Equit                                                 490,295                     486,193                 486,193
 Post-Petition Cumuiative Profit/Loss                                                                     31,511                29,294

 Direct Charges to        (explain)
         TotaI Equity                                                       490,295                     517,704                 515,487

 丁OTAL LIABILITIES & OWNER’S EQUITY                                       3,378,604                   3,386,133                3,387,518
 1 This column shouId refIect the info「mation provided in ScheduIes A, B, C’D’E, and F filed with the Co而


                                                                          Page7
Case Numbe「: 2:17-bk-07624-SHG                                                   STA丁US OF ASSE丁S




【DUEFROMINSIDER      i
ScheduIeAmount                                                     0
PIus:AmountLoanedSinceFiiingDate                                   0
Less:AmountCoIiectedSinceFi                       ingDate          0
Less:AmountConsideredUnco                        ectibIe           0
NetDueF「omlnsiders                                                 0



白NVENTORY        i
Begiminglnventory                                               0
PIus:Purchases                                                 0
Less:CostofGoodsSoId                                            0
Endinglnventory                                                0


                 Date Las=nventory was taken:



FIXEDASSETS                 SCHEDU」E                ADDIT10NS             DELE丁IONS               CURRENT AMOUNT
ReaiPropertv
BuiIdings                                   3311600                                                           3311600
 AccumuIatedDepreciation                                                  33300                                     33300
  NetBuiidinqs                                     3278300                                                     3278300

Equjpment                     NONE
  AccumuiatedDepreciation
  NetEaulPment
AutosNehicles                    NONE
  AccumuiatedDepreciation
  NetAutosNehicIes

Provide a description offixed assets added or deieted during the 「eporting pe「iod言nclude the date of Court order:




                                                         Page 8
Case Number:2:17-bk-07624-SH                                                  S丁ATUS OF LIABILI丁IES
                                                                          AND SENSI丁IVE PAYMEN丁S
  冊fo「mationp「OVidedonthispageshould   「econciiewithbaian        CeSheetanddisbu「   Sementdeta    amOU    nts


POST_PETITIONLIABiLITiES                    丁otai                0-30Days           31-60D          yS          61-90Days     91十Days

 AccountsPayabie*
 TaxesPayabie                          557            557
 NotesPayabie
 ProfessionaiFeesPayable
 SecuredDebt
 Other(SeCuritydeposit)                                                         1,943                                              1943


丁otaiPost-PetitionLiab師ties                                                     2,500                    557                     1,943

★DEBTOR MUST ATTACH AN AGED ACCOUNTS PAYABLE LISTiNG



                PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                    Insiders


                    Name   ReasonforPayment             mount thisM            Paid nth          TotaIPaidto  Date




NONE




丁otalPaymentstolnsiders




                                                 P「ofessionaIs




                    Name                 Pay Authorizing
                           DateofCourt 0「de「   ment      Aproved
                                                             Amount                       thisMonth
                                                                                          AmountPaid              Date
                                                                                                                TotaiPaidto



NONE




TotalPaymentstoPro情essionals
case Number‥2:17_bk-07624-SHGSCHEDULE OF OTHER OPE日
                                          MON丁H OFAPRIL 2018




             GLENDALE      HATCHER       CONDOS       TOTAL


DEPRECIA丁iON             1,700          200     1,800         3,700
lN丁ERES丁                     1,980             1,100          3,080
PROPER丁YTAX              1,870           310      230         2,410
REFUSE                        85                                  85
HOAFEES                                        634              634
PESTCONTROL                             41                       41
UTiLI丁iES                               89                       89

lNSURANCE                                       191            191
REPAIRS                     351                                351


丁OTALEXPENSES                                            10,581




                             Page lOa
ARLENE & RONALD J SILVER DEBTOR IN POSSESSION
       Check Register WeI看s Fargo 3591
                Month ofAprii 2018




             DM WALLMAR丁        SUPPLIES
             DM SAVERS          SUPPLIES
             DM FRY’S FOODS     HOUSEHOLD
             DM G0ODWiLL        DONATION
             DM   AMPM          AU丁O FUEL




                                                    !クワ千
                                            的三船く
                                                     手子)/
                                            み子証か寝
       ARLENE & RONALD J SILVER DEB丁OR IN POSSESSION
                      Check Register Weils Fargo 7285
                                   Month ofApri1 2018



UNRESTRICTED CASH




                                                                        38.霊霊孟訪露霊-7- 1 。00詳記00諾霊‡霊器霊莞需墨議書霊言霊-7霊霊‡謹告-。8 5ぷ1 5
                                                                                                                                                                                                                                                                        火鉢     ㈱彊弧    線      箸       榛         録     握
  WELLS FARGO 7285




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                                                                        ○
  Check O4/02/201 8  1 86            RUSS BUSINESS EXP
  Check O4/02/201 8  1 90            NiSSAN MOTOR CRE… AUTO LEASE




                                                                        ○
  Check O4IO2/201 8   DM             ROSEiS HALLMARK BUSINESS EXP




                                                                        4
  Check O4IO2/201 8   DM             FRY'S   FOODS   HOUSEHOLD      …
                                     COSTCO      HOUSEHOLD




                                                                         
  Check O4/02/201 8   DM
  Check O4/02I201 8   DM             USPS     BUSiNESS         EXP




                                                                         
  Check O4/02I201 8   DM             FRY'S FOODS HOUSEHOLD .




                                                                         
  Check O4IO2/201 8   DM             WALLMART HOUSEHOLD .
  Check O4/02/201 8   DM             FRY'S FOODS HOUSEHOLD …




                                                                         
  Check O4/03I201 8  1 65            PROPERTY MANAGER RECEiVABLE …




                                                                         
  Check O4/031201 8  1 92            PROPERTY MANAGER RECEIVABLE …
                                     OCWEN      SECURED       DE.




                                                                        十
  Check O4/03/201 8  1 91
  Check O4/03/201 8   DM             COS丁CO      HOUSEHOLD          …




                                                                        〇
  Check O4IO3I2O1 8   DM             CRiME iNFOCHECK BUSiNESS EXP




                                                                        4
  Check O4IO4/201 8   DM             NiCKS AT FRANK LL…  HOUSEHOLD …
  Check O4/04I201 8   DM             FRY'S FOODS HOUSEHOLD ‥




                                                                         
  Check O4/04/201 8   DM             SALT RiVER PROJECT UT旧TiES




                                                                         
  Check O4/04/201 8   DM             AMERiCAN CONTiNE. HEALTH iNSU…
                                     IL BUONO SOLAR UTiLiTiES




                                                                        -
  Check O4104/201 8   DM
  Check O4/05/201 8  1 69            SWEEPiNG SERViCE REPAIR




                                                                        1
  Check O4/05/201 8   DM             COSTCO HOUSEHOLD …




                                                                        1
  Check O4/O5/20 1 8   DM            SAFECO AUTO INSURA…
  Check O4/O51201 8  DM              UNITED HEALTH CARE HEALTH iNSU…




                                                                        1
  Check O4IO6/201 8   DM             BUT丁ERiS PANCAKES RESTAURANT




                                                                        -
  Check O4/06/201 8   DM             NICKS A丁FRANK LL…  HOUSEHOLD …
                                     DRAGON DISPOSAL REFUSE PiCK .




                                                                        3
  Check O4IO61201 8   DM
  Check O4IO61201 8   DM             MEDiFAST MEDiCINE




                                                                        4
  Check O4/06I201 8   DM             WALLMART     HOUSEHOLD         …




                                                                        -
  Check O4IO6/201 8   DM             FRY.S F0ODS HOUSEHOLD .
  Check O4/09/201 8  1 87            AARP BUSiNESS EXP




                                                                         
  Check O4/09/201 8  1 97            PROPER丁Y MANAGER RECEiVABLE.




                                                                         
  Check O4/09!201 8   DM




                                                                         
   Check O4IO9/201 8   DM
   Check O4/09/201 8   DM




                                                                        †
   Check O4/09/201 8   DM




                                                                         
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   Check O4/09/201 8   DM



                                                                         
   Check O4/09/201 8   DM

                                                                         
   Check O4/091201 8   DM
                                                                         
   Check O4IO9/201 8   DM
   Check O4IO91201 8   DM
                                                                         




   Check O4IIO/2O1 8   196           PROPERTY MANAGER ∴ RECElVABLE
                                                                         




   Check O411 0I201 8   DM           COSTCO       HOUSEHOLD
                                                                         




   Check O4/1 0/201 8
                                                                         




   Check O4Il O/201 8
   Check O4I=/201 8
                                                                         




   Check   O4/1 1/2018
                                                                         




   Check   O4/1 112018
                                                                         




   Check   O411 21201 8
   Check   O4/1 2/201 8
                                                                         




   Check   O4/1 2/201 8
                                                                         




   Check   O4/1 2/201 8
   Check   O4/1 2I201 8
                                                                         




   Check   O4/1   3/201   8
                                                                         




   Check   O4/1   3/201   8
                                                                         




   Check   O411   6/201   8
   Check   O411   6I201   8
                                                                         




   Check   O4/1   6/201   8
                                                                         




   Check   O411   6I201   8   DM   COSTCO               HOUSEHOLD
   Check   O4/1   6/201   8   DM   AJ’S                 HOUSEHOLD
                                                                         




   Check   O4I1   6/201   8   DM BiLLMATRIX             INSURANCE
                                                                        -




   Check O4/1 61201 8         DM MSA GROUP              INSURANCE
   Check O4/1 6I201 8         DM   COSTCO               HOUSEHOLD
   Check O4/1 7I201 8         189    CI丁Y OF PHOENiXW   UTILITIES
   Check O411 7/201 8         DM   COSTCO               HOUSEHOLD
           ARLENE & RONALD J StLVER DEBTOR IN POSSESSION
                     Check Register Welis Fargo 7285
                                 Month ofApri1 2018

        TypL Date N um                   Name          Spiit




                                                                                  鵜007-1 2-65-22霊-1 1‡繋霊557霊豊川-8箸1 63零墨一塁
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    Check O4/1 7I201 8   DM        GLiC PHONE PAY HEALTH INSU
    Check O4118/201 8  193         RUSS BUSINESS EXP
    Check O4/1 8/201 8   DM        NICKS AT FRANK LL…  HOUSEHOLD..
    Check O411 81201 8   DM        COSTCO     HOUSEHOLD        ‥
    Check O4/1 8I201 8   DM        COSTCO       HOUSEHOLD.
    Check O4I1 9/201 8  DM         NICKS AT FRANK LL‥  HOUSEHOLD ‥
    Check O411 9/201 8   DM        AZ DEPTOF REAL E‥
    Check O4/1 9/201 8   DM        RACHEL GILBER丁
    Check O4/231201 8   DM         OLiVE GARDEN
    Check O4123I201 8   DM         ARIZONA REPUBLIC
    Check O4123/201 8   DM         USPS
    Check O4/23/201 8   DM         COSTCO
    Check O4/23/201 8   DM         COS丁CO
    Check O4I23/201 8   DM         WALLMART
    Check O4/23/201 8   DM         WALLMART
    Check O4/24/2O1 8  1 74        ARiZONA DEPT OF R
    Check O4I26/2O1 8   DM         GEORGE & SONS
    Check O4/26/201 8   DM         COS丁CO
    Check O4/261201 8   DM         SAFECO
    Check O4/271201 8   DM         AZ 88
    Check O41271201 8   DM         WALLMAR丁
     Check O4130/201 8  1 94       M ZINGER
     Check O4/30/201 8  1 98       LADY BUG PEST
    Check O4/30/201 8   DM
    Check O4/30/201 8   DM
     Check O4130/201 8   DM
     Check O4130I201 8   DM
     Check O4/30I201 8   DM
        Check O4/30/201 8   DM
        Check O4/30/201 8   DM

    Totai WELLS FARGO 7285

  Totai UNRESTRiCTED CASH

TOTAL



                                                                     し中鉢」                                                                                                                              /!7宰巳

                                                                                                                                                                                                       1らうう
                                                                     囲圃隠田
We案Is Fa「go Everyday Checking
A∞Ountnumbe「: 6959313591喜Ap「i11,2018-Aprii30,2018 喜Pagel of4




                                                                                Questio ns?
                                                                                  <フ
                                                                                Ava//ab/e by phone 24 hou′S a day, 7 days a week・
           RONALD J SiLVER
                                                                                TeIecommu niCatlOnS Relay Services ca=s accepted
            DEB丁OR IN POSSESSiON
                                                                                 l -800-TO-WELLS (1-800-869-3557)
           CH = CASE♯17-07624 (AZ)
                                                                                 TTY 「-800-877-4833
           8329 E CHARTER OAK RD
                                                                                 与n espahoI’1-877-727-2932
            SCOT丁SDALE AZ 85260-5230
                                                                                 華語1_80O-288_2288 (6am to 7pm PT肋F)


                                                                                On〃ne weIisfa「go ∞m


                                                                                肋te. We=s Fa「go Bank, N A. (746)
                                                                                             P.0. Box 6995
                                                                                             Portland, OR 97228-6995




 You and We=s Fargo                                                             Account options
                                                                                A check mark /n fhe box /ndicates you have筋ese
 Thank you fo「 belng a loyal WeiIs Fargo custome「・ We value your t「ust in our
                                                                                COnVe!)ient serv/CeS W/th your accOunt(S/. Go to



                                                                                               宣霊
 company and -ook fo…a「d to cont'nuing to se「ve you with you「 financial needs
                                                                                weI后唐竹O COm OrCaII fhe "umberabove /fyou nave

                                                                                quesf/OnS Or /f you wou/d /’ke to add ”eW Sen/ces・




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                                                                                                                     Dl「eCt Depos't   田

                                                                                                    t博∴∴∴師           Auto T「ansfer仲ayment □

                                                                                                                     ○ve「d「aftP「otection □



                                                                                                                     Ove「d「aft Service  □




Activity summary
       Beglnning baIance on 4II

       D ep osits/Ad d ItiOnS
       VVIthdrawalsISubt「actions
A∞Ountnumber‥ 6959313591 s Apr町2018-Aprii30)2018 “ Page2of4 




Transaction histo「y



                          Check
      Da(e       Number    Descnp強on




       77)e EndIng DatレBa/ance 。OeS nOt I鋤ect any pending w’thd′aWaIs or ho/ds on deposited funds that may h∂Ve beer) OutSland,ng On yOur aCCOunt When your

       tI即SaC“OnS POSted /f you had /nsu筋cient avai/ab/eんnds when a hansact′On pOsted′ fees may have been assessed・




Summary of checks w皿en 佃hecks 〃sfed aIe aIso disp/ayed h the pIeCee励g 7fansact/On h/StO勅


       Number            Da    te      Amount




MonthIy service fee summary

For a compiete "st of fees and detaiIed account info「mation, See the Welis Fargo Account Fee and informatiOn Scheduie and Ac∞unt Ag「eement appiiCabie to

you「 account (EasyPay Ca「d Te「ms and ConditiO=S fo「 p「epaid ca「ds) o「 talk to a banker. Go to weilsfa「go.com/feefaq fo「 a剛to these documents’and answe「S
to common mon州y service fee questions




       How to avoid the monthly service fee
       Have any ONE of the foIiowing aCCOunt 「equi「ementS
          . MI川mum daily balance                                                                                                                $1,648.24匡1

            Total amount of qualifying di「ect deposltS                                                                                          $2,184.53囲
          . Total numbe「 of posted We=s Fa「go Deblt Ca「d purchases andlo「 PaymentS                                                                       9□
          . The fee lS WalVed when the account lS IInked to a Weiis Fa「go Campus ATM o「

               Campus Debit Ca「d


       MonthIy service fee discount(s〉佃pp〃ed when box ;s checke匂)

       Age of p「lma「y aCCOuntOWner iS 17 - 24 ($5 00 dis∞unt)              口
       RCIRC
Wei!s Fa「go Eve「yday Check冒ng
A∞Ountnumbe「: 6725367285 喜Aprii l,2018-Aprii30, 2018 s Page l of6




                                                                                Questio ns?
                                                                                Ava//ab/e by phone 24 houIS a day. 7 days a week
ARLENE SILVER
                                                                                TelecommuniCatlOnS Relay Services ca=s accepted
DEBTOR IN POSSESSiON
                                                                                 l-800"TO"WE上しS (1-800-869-3557)
CH = CASE # 17-07624 (AZ)
                                                                                 TTY・ 1 -800-877-4833
8329 E CHARTER OAK RD
                                                                                 En espa斤o/: 1-877-727-2932
SCOT丁SDALE AZ 85260-5230
                                                                                 華語仁800-288-2288 (6amto 7pmPT MF)


                                                                                On励e. we=sfa「go com


                                                                                肋te・ Weils Fargo Bank, NA (O38)
                                                                                             PO Box6995
                                                                                             Portland, OR 97228-6995




 You and We=s Fargo                                                             Account options
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 Thank you fo「 being a loyal Weiis Fargo custome「 We vaiue you「 t「ust in ou「
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 company and look forwa「d to contmuing to se「Ve yOu W'th your financial =eeds
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Activity summary
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       D epos itS/Ad d itlOn S

       WithdrawaisISubtractlOnS
 Transaction history


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       Date   Number   Desc〆p〃on

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       4I6   γ「い

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       416


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   A∞Ountnumbe「: 6725367285 喜Ap「i=,2018-Apr=30,2018 “ Page3of6




   7Tansaction加sfory (COn創nue4)


                        Check
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                                POO5881OO620968228 Ca「d 5138




                                Pu「Chase autho「iZed on O4′1O Fedex 78O459085671 Memphis TN 督eG ifz f項e-
                                S38810061226O777 Card 5138

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                                Pu「chaseauthorized on O4114A」.S#118 ScottsdaieAZ 希有∴シ
                                POO〇〇〇〇OO571301553 Ca「d 5138
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                                POO46810664823122O Card 51 38


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A∞Ountnumbe「: 6725367285 ￨ Ap「ii l,2018-Aprii30, 2018 “ Page5of6




Summary of checks w「itten (Checks 〃sted aIe a/so dsp/ayed /n the preceding 77’anSaCtIOn histoM


      Num      ber     Da     te    Amount          Number         Da    te    Am     ount       M‘mber   Da   te    Amount




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                                                                                                                      $821 0〇日]
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      Monthiy se「vice fee discount(s〉佃pp〃ed when box ;s checke匂)

      Age of p「lmary aCCOunt OWne「 IS 17 - 24 ($5 00 diSCOu∩t)    口




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